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                 IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

 ANTHONY CHATMAN, FRANCISCO                  CIVIL NO. 21-00268 JAO-KJM
 ALVARADO, ZACHARY
 GRANADOS, TYNDALE MOBLEY,                   ORDER (1) GRANTING
 and JOSEPH DEGUAIR, individually            PLAINTIFFS’ MOTION FOR
 and on behalf of all others similarly       PROVISIONAL CLASS
 situated,                                   CERTIFICATION AND (2)
                                             GRANTING IN PART AND
             Plaintiffs,                     DENYING IN PART PLAINTIFFS’
                                             MOTION FOR PRELIMINARY
       vs.                                   INJUNCTION AND TEMPORARY
                                             RESTRAINING ORDER
 MAX N. OTANI, Director of State of
 Hawai‘i, Department of Public Safety, in
 his official capacity,

             Defendant.


  ORDER (1) GRANTING PLAINTIFFS’ MOTION FOR PROVISIONAL
 CLASS CERTIFICATION AND (2) GRANTING IN PART AND DENYING
  IN PART PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
             AND TEMPORARY RESTRAINING ORDER

      This putative class action concerns the alleged conditions in Hawaii’s

prisons and jails that have contributed to multiple COVID-19 outbreaks. Plaintiffs

Anthony Chatman (“Chatman”), Francisco Alvarado (“Alvarado”), Zachary

Granados (“Granados”), Tyndale Mobley (“Mobley”), and Joseph Deguair

(“Deguair”) (collectively, “Plaintiffs”) contend that the Department of Public

Safety (“DPS”), headed by Defendant Max Otani (“Defendant”), has mishandled
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the pandemic and failed to implement its Pandemic Response Plan (“Response

Plan”) in violation of their Eighth and Fourteenth Amendment rights. Plaintiffs

seek provisional class certification and request a temporary restraining order and

preliminary injunction; namely, the appointment of a special master to oversee the

development and implementation of Plaintiffs’ proposed response plan. For the

following reasons, the Court GRANTS Plaintiffs’ Motion for Provisional Class

Certification (“Class Certification Motion”), ECF No. 20, and GRANTS IN PART

AND DENIES IN PART Plaintiffs’ Motion for Preliminary Injunction and

Temporary Restraining Order (“Injunction Motion”). ECF No. 6.

      Defendant is ORDERED to immediately implement and adhere to DPS’s

Response Plan at all eight DPS facilities and comply with the specific conditions

outlined herein.

                                  BACKGROUND

I.    Factual History1

      Hawaii’s state prisons and jails have been plagued by COVID-19 outbreaks

at five of its eight facilities, resulting in the infection of more than 50% of the

inmate population (1,532 inmates out of a population of approximately 3,000) and

272 DPS staff, and seven deaths. ECF No. 18 (“SAC”) ¶¶ 1–2, 113–14; see also



1
 The facts are from the Second Amended Class Action Complaint for Injunctive
Relief and Declaratory Judgment (“SAC”), unless otherwise indicated.
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http://dps.hawaii.gov/blog/2020/03/17/coronavirus-covid-19-information-and-

resources/ (last visited July 13, 2021).

        The first outbreak occurred at Oahu Community Correctional Center

(“OCCC”) in August 2020, and to date, OCCC has had 452 cases of COVID-19.

SAC ¶ 102.

        In November 2020, Waiawa Correctional Facility (“Waiawa”) experienced

an outbreak, causing 90% of the inmate population to contract COVID-19. Id.

¶ 103. During the outbreak, dirty clothes from Waiawa were laundered at Halawa

Correctional Facility (“Halawa”) by inmates and staff, and Halawa staff were

forced to work at Waiawa due to staff shortages there. Id. ¶ 104. These practices

resulted in an outbreak at Halawa, where 544 inmates became infected and seven

died from COVID-19. Id. ¶ 105.

        In March 2021, an outbreak at Maui Community Correctional Center

(“MCCC”) resulted in 100 inmate COVID-19 infections, which represents one-

third of MCCC’s inmate population. Id. ¶ 106.

        The most recent outbreak occurred at Hawai‘i2 Community Correctional

Center (“HCCC”), beginning in late May 2021. Id. ¶ 107. Within three weeks,




2
    Plaintiffs misidentify this as Hilo Correctional Community Center. SAC ¶ 4.
                                           3
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two-thirds of the inmate population contracted COVID-19. Id. Twenty DPS staff

and 228 pretrial detainees tested positive for COVID-19 during this period.3 Id.

¶ 5. Plaintiffs attribute this rapid and extensive spread to the allegedly unsanitary

conditions in holding areas at HCCC, most notably a room known as the

“fishbowl.” Id. The fishbowl is approximately 31.5 feet by 35.3 feet4 and 40 to 60

pretrial detainees have been housed there, with no toilet or running water, causing

detainees to urinate and sometimes defecate in the room. Id. ¶¶ 5–6; ECF No. 22-2

¶ 38.

        A.    Plaintiffs

        Plaintiffs are currently incarcerated or detained at DPS correctional facilities

in Hawai‘i.

              1.     Anthony Chatman

        Chatman has been incarcerated at Halawa since July 2019. SAC ¶ 123.

While Chatman was housed in module 4A-2 in December 2020, two inmates who

tested positive for COVID-19 were placed in his quad, then-designated a COVID-

negative quad, and allowed to mingle with other inmates in the quad without

masks. Id. ¶¶ 124, 127–28. Nearly all inmates in the quad tested positive for



3
    Defendant does not dispute these figures.
4
    The SAC identifies the dimensions as 30 feet by 30 feet. SAC ¶ 5.

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COVID-19 shortly thereafter, including Chatman’s roommate. Id. ¶ 129.

Chatman’s roommate nevertheless remained in their cell, and Chatman then

contracted COVID-19. Id. ¶¶ 130–31. He too stayed in the cell, “sick as a dog,”

without receiving meaningful medical treatment. Id. ¶ 131. Chatman claims that

upon his departure from his cell, it was not cleaned before the next occupant

moved in. Id. ¶ 132.

      Chatman filed a grievance after contracting COVID-19 and appealed each

denial to exhaust his administrative remedies. Id. ¶¶ 133–34. Despite the COVID-

19 outbreak at Halawa, Chatman has yet to see any social distancing practices —

during recreation and dining, or in the common areas and cells — and reports that

60 people eat shoulder to shoulder in an approximately 400 square foot room. Id.

¶¶ 135–36.

             2.    Francisco Alvarado

      Alvarado, a 52 year old inmate with lupus, was previously incarcerated at

Halawa from 2019 to March 2021, and is currently incarcerated at Kulani

Correctional Facility (“Kulani”). Id. ¶¶ 137–40. At Halawa, Alvarado was a

module clerk who prepared paperwork for inmates’ movement within the facility

and delivered meals to cells. Id. ¶ 141. He witnessed inmates remaining in their

cells after testing positive for COVID-19, comingling of COVID-positive inmates

with asymptomatic inmates, and transfer of asymptomatic inmates into unsanitized


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cells previously occupied by COVID-positive inmates. Id. ¶ 142. During meal

deliveries, Alvarado was exposed to COVID-positive inmates, who were not

forced to wear masks, through “open screen” cell doors. Id. ¶ 143.

      When Alvarado contracted COVID-19 in December 2020, he requested

medical assistance but received little to none. Id. ¶¶ 144, 146. His underlying

medical condition caused him to sustain serious damage to his kidneys. Id. ¶ 145.

Alvarado filed a grievance regarding the conditions that caused him to contract

COVID-19 but he never received a response. Id. ¶¶ 146, 148–49. He was initially

informed that the COVID-19 outbreak created a backlog of grievances and was

instructed to file another grievance. Id. ¶ 150. However, between January and

March 2021, he was repeatedly told that no grievance forms were available. Id.

¶¶ 151–53.

             3.    Joseph Deguair

      Deguair, an asthmatic, has been incarcerated at HCCC since December 4,

2020. Id. ¶¶ 154–55. Before the May 2021 COVID-19 outbreak at HCCC,

Deguair noticed an absence of mitigation efforts to prevent the spread of COVID-

19. Id. ¶ 157. For example, he reports seeing symptomatic detainees housed with

those who had not been tested for COVID-19, and social interaction between

COVID-positive detainees and the general population during recreation time. Id.

¶¶ 157–59.


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      Due to these conditions, Deguair requested an inmate grievance form almost

every day during the last two weeks of May to file a grievance. Id. ¶ 160.

Multiple Adult Corrections Officers (“ACOs”) told Deguair there were no forms

and that he could not file a grievance. Id. ¶¶ 161–62. Since testing positive for

COVID-19 on June 1, 2020, Deguair has requested a grievance form daily, only to

be told none were available. Id. ¶¶ 163–64. ACOs told Deguair that there was

nothing they could do to help him obtain a form or file a grievance. Id. ¶¶ 165,

167. Even when he attempted to file a grievance by phone, he was told during the

call that he could not file a grievance and would have to wait. ECF No. ¶ 166.

             4.    Tyndale Mobley

      Mobley received a COVID-19 vaccine prior to his incarceration at HCCC.

Id. ¶¶ 168, 170. COVID-positive inmates were initially contained within the main

HCCC building, though staff moved freely without masks between the main

building and the unit housing Mobley. Id. ¶¶ 172–73. Mobley once confronted a

guard who returned from the main building without a mask, and she responded that

she did not want or need to wear a mask. Id. ¶ 174. This guard contracted

COVID-19. Id. ¶ 174.b.

      At the beginning of June 2021, two inmates with COVID-19 were housed in

Mobley’s cell block. Id. ¶ 175. Two additional COVID-positive inmates were

moved into the cell block and the four infected inmates were instructed to stay on


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the opposite end of the room from the non-infected inmates. Id. ¶ 176. Nearly all

the inmates in the cell block then contracted COVID-19. Id. ¶ 177. Mobley and

the COVID-positive inmates shared restroom facilities and he saw no efforts by

staff to sanitize the facilities. Id. ¶¶ 178–79.

      Mobley attempted to file grievances every day starting in late May or early

June 2021, but the guards said they had no grievance forms and that there was no

way to file a grievance. Id. ¶¶ 180–82, 184–85. Mobley was diagnosed with

COVID-19 on June 6, 2021. Id. ¶ 183.

             5.     Zachary Granados

      Granados has been incarcerated at Waiawa since August 2020. Id. ¶ 186. In

November 2020, certain inmates housed in Waiawa’s building 9 displayed

COVID-19 symptoms. Id. ¶ 188. Upon testing positive in the medical unit, they

returned to building 9, where nearly every inmate later contracted COVID-19. Id.

¶ 188.a–c. Around the same time, inmate kitchen workers contracted COVID-19

so Granados, along with other inmates from building 10, filled in for the COVID-

positive kitchen workers. Id. ¶¶ 187, 189.a. The kitchen was not sanitized before

the building 10 inmates stepped in, and four days later, one of those inmates tested

positive for COVID-19. Id. ¶ 189.b–c.




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         Guards in building 9 wore “hazardous materials” suits because building 9

housed the COVID-positive inmates. Id. ¶ 190. Granados saw the guards wear

these suits into building 10 to conduct head counts. Id. ¶ 191.

         Approximately 30 COVID-positive inmates were transferred to building 10

from other buildings in mid-November 2020, after which Granados contracted

COVID-19. Id. ¶¶ 192–93. Granados was bedridden for one week as a result. Id.

¶ 194.

         In early December 2020, Granados filed a grievance regarding Waiawa’s

conditions, followed by appeals after receiving responses. Id. ¶¶ 195–96.

         B.    DPS’s Management of COVID-19

         In addition to the facilities housing Plaintiffs, DPS operates and manages

Kauai Community Correctional Center (“KCCC”), MCCC, OCCC, and the

Women’s Community Correctional Center (“WCCC”). Id. ¶ 43. Plaintiffs allege

that Defendant has mishandled and failed to manage outbreaks at its facilities

notwithstanding its Response Plan, which has been in place since March 2020. Id.

¶ 83. In particular, Plaintiffs identify the following deficiencies: (1) housing up to

60 residents/detainees in a single room; (2) failure to provide adequate water; (3)

failure to provide sanitary living conditions or proper hygiene; (4) failure to

separate COVID-positive inmates; (5) failure to properly quarantine new intakes;

(6) failure to communicate with DPS staff and inmates regarding proper COVID-


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 19 protocols; (7) failure to protect elderly and medically vulnerable inmates; (8)

 failure to allow adequate social distancing; (9) failure to provide personal

 protective equipment or enforce proper mask wearing; and (10) failure to

 consistently or adequately evaluate, monitor, and treat inmates with COVID-19

 symptoms. Id. ¶¶ 92–122.

       Plaintiffs propose the following classes and subclasses:

              Post-Conviction Class: All present and future sentenced
              prisoners incarcerated in a Hawai‘i prison.

              Post-Conviction Medical Subclass: Includes all present and
              future Post-Conviction Class members whose medical condition
              renders them especially vulnerable to COVID-19 as determined
              by guidelines promulgated by the CDC. See U.S. Centers for
              Disease Control and Prevention, People Who Are At Higher
              Risk (last viewed June 9, 2021) https://www.cdc.gov/
              coronavirus/2019-ncov/need-extra-precautions/people-with-
              medical-conditions.html.

              Pretrial Class: All present and future pretrial detainees
              incarcerated in a Hawai‘i jail.

              Pretrial Medical Subclass: Includes all present and future
              Pretrial Class members whose medical condition renders them
              especially vulnerable to COVID-19 as determined by guidelines
              promulgated by the CDC. See U.S. Centers for Disease Control
              and Prevention, People Who Are At Higher Risk (last viewed
              June 9, 2021) https://www.cdc.gov/coronavirus/2019-ncov/
              need-extra-precautions/people-with-medical-conditions.html.

 Id. ¶ 198.




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 II.   Procedural History

       Plaintiffs initiated this action on April 28, 2021, in the Circuit Court of the

 First Circuit, State of Hawai‘i. ECF No. 1-1. On June 8, 2021, Defendants and the

 other originally named defendants removed the action. ECF No. 1. Plaintiffs

 immediately filed a First Amended Class Action Complaint for Injunctive Relief

 and Declaratory Judgment (“FAC”) and the Injunction Motion. ECF Nos. 5–6.

       On June 18, 2021, Plaintiffs filed a Supplement to the Injunction Motion.

 ECF No. 14.

       On June 22, 2021, Plaintiffs filed the SAC pursuant to a stipulation entered

 into by the parties and approved by Magistrate Judge Kenneth J. Mansfield. ECF

 Nos. 17–18. The SAC asserts three causes of action pursuant to 42 U.S.C. § 1983

 and 28 U.S.C. § 2241: unconstitutional punishment in violation of the Fourteenth

 Amendment (Count One), unconstitutional conditions of confinement in violation

 of the Fourteenth Amendment (Count Two), and unconstitutional conditions of

 confinement in violation of the Eighth Amendment (Count Three). SAC ¶¶ 209–

 44. The first claim applies to the pretrial subclass, the second claim applies to the

 pretrial class, and the third claim applies to the post-conviction subclass. Id. at 53,

 57, 59.

       Plaintiffs request injunctive relief to require Defendant to implement the

 following response plan (“Proposed Response Plan”):


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             a. Physically distance all residents from one another and staff
                within DPS correctional facilities, which imposes at least six
                feet of distance between individuals at all times;

             b. Provide all residents in DPS custody sanitary living
                conditions (i.e., ensure regular access to a working toilet,
                sink, and drinking water);

             c. Identify residents who may be high-risk for COVID-19
                complications, in accordance with guidelines from the CDC,
                and prioritize these individuals for medical isolation or
                housing in single cells;

             d. On a daily basis, thoroughly and professionally disinfect and
                sanitize the DPS correctional facilities;

             e. Provide hygiene supplies that are not watered down,
                including supplies to wash hands and disinfect common areas,
                to inmates at all times and free of charge;

             f. Implement policies and procedures requiring that common
                areas be disinfected between uses;

             g. Provide adequate personal protection equipment and
                sanitizer, including but not limited to masks, to all staff
                members and residents (and ensure that these materials are
                replaced at least every third day);

             h. Implement a testing procedure to identify residents who are
                possibly carrying COVID-19, including testing to identify
                asymptomatic carriers and those with one or more symptoms
                of COVID-19;

             i. Implement a quarantine and isolation procedure that is in line
                with CDC guidelines for all individuals exposed to COVID-
                19 and new intakes to DPS correctional facilities;

             j. Take particularly heightened precautions with respect to food
                handling and delivery, such as ensuring that people who come
                into contact with food are not displaying any potential
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                    symptoms of COVID-19, have not recently been in contact
                    with people displaying potential symptoms of COVID-19,
                    and people who come into contact with food wear appropriate
                    personal protective equipment at all times when in contact
                    with food;

                 k. Provide regular, accurate, up-to-date educational and
                    informational memorandum to DPS staff and inmates
                    regarding the status of how COVID-19 is affecting the
                    facility, including what measures employees and inmates
                    must take in the event of an outbreak;

                 l. Develop comprehensive plans to educate and promote
                    COVID-19 vaccination for all DPS residents and staff and
                    ensure residents are provided regular access to vaccines; []

                 m. Prohibit DPS employees from restricting access to inmate
                    grievance forms or from preventing the submission of
                    grievances, and prohibit retaliation against any DPS
                    employee or inmate for making complaints or filing
                    grievances regarding conditions or practices in DPS facilities
                    that promote the spread of COVID-19[; and]

                 n. In accordance with CDC guidelines, ensure that medical
                    isolation of inmates with COVID-19 is distinct from punitive
                    solitary confinement of incarcerated/detained individuals,
                    both in name and in practice. This includes making efforts—
                    where feasible—to provide similar access to radio, TV,
                    reading materials, personal property, and the commissary as
                    would be available in regular housing units.

 Id. at 61–64.

       Plaintiffs pray for certification of the proposed classes and subclasses, entry

 of judgment declaring Defendant’s practices and actions violated the Constitution,

 entry of an order requiring Defendant to execute the Proposed Response Plan,



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 appointment of a special master to oversee the development and implementation of

 the Proposed Response Plan, and attorneys’ fees and costs. Id. at 65.

       Defendant filed his Opposition and Plaintiffs filed their Reply to the

 Injunction Motion on June 23 and 25, 2021, respectively. ECF Nos. 22, 26.

 On June 28, 2021, Defendant filed his Opposition to the Class Certification

 Motion. ECF No. 28. Plaintiffs filed their Reply on July 1, 2021. ECF No. 29.

       The Court held a hearing on the Injunction Motion and Class Certification

 Motion on July 8, 2021. ECF No. 35.

                               LEGAL STANDARDS

 I.    Class Certification

       Provisional class certification may be granted for the purposes of

 preliminary injunction proceedings. See Al Otro Lado v. Wolf, 952 F.3d 999, 1005

 n.4 (9th Cir. 2020) (citation omitted). “Class actions are ‘an exception to the usual

 rule that litigation is conducted by and on behalf of the individual named parties

 only.’” Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 993 F.3d

 774, 784 (9th Cir. 2021) (quoting Comcast Corp. v. Behrend, 569 U.S. 27, 33

 (2013)). As such, Federal Rule of Civil Procedure (“FRCP”) 23 “imposes

 ‘stringent requirements’ for class certification.” Id. (quoting Am. Express Co. v.

 Italian Colors Rest., 570 U.S. 228, 234 (2013)). “The party seeking class

 certification has the burden of affirmatively demonstrating that the class meets the


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 requirements of Federal Rule of Civil Procedure 23.” Mazza v. Am. Honda Motor

 Co., 666 F.3d 581, 588 (9th Cir. 2012) (citation omitted). “[T]he failure of any one

 of Rule 23’s requirements destroys the alleged class action.” Rutledge v. Elec.

 Hose & Rubber Co., 511 F.2d 668, 673 (9th Cir. 1975) (citation omitted). A party

 requesting class certification must first satisfy FRCP 23(a)’s numerosity,

 commonality, typicality, and adequacy of representation requirements.5 See Olean,

 993 F.3d at 784 (citing Leyva v. Medline Indus., 716 F.3d 510, 512 (9th Cir. 2013);

 Fed. R. Civ. P. 23(a)).

        If all four of these prerequisites are met, Plaintiffs must then “satisfy through

 evidentiary proof at least one of the provisions of Rule 23(b).” Comcast, 569 U.S.

 at 33. Pertinent here, the Court can certify an FRCP 23(b)(2) class if “the party


 5
     FRCP 23(a) provides:

        One or more members of a class may sue or be sued as representative
        parties on behalf of all members only if:

        (1) the class is so numerous that joinder of all members is
        impracticable;

        (2) there are questions of law or fact common to the class;

        (3) the claims or defenses of the representative parties are typical of the
        claims or defenses of the class; and

        (4) the representative parties will fairly and adequately protect the
        interests of the class.

 Fed. R. Civ. P. 23(a).
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 opposing the class has acted or refused to act on grounds that apply generally to the

 class, so that final injunctive relief or corresponding declaratory relief is

 appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2).

       “When considering whether to certify a class, it is imperative that district

 courts ‘take a close look at whether common questions predominate over

 individual ones’” and “perform a ‘rigorous analysis’ to determine whether this

 exacting burden has been met before certifying a class.” Olean, 993 F.3d at 784

 (citations omitted). “Courts must resolve all factual and legal disputes relevant to

 class certification, even if doing so overlaps with the merits.” Id. (citing Wal-Mart

 Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011)). However, “Rule 23 grants courts

 no license to engage in free-ranging merits inquiries at the certification stage.”

 Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 466 (2013). Such

 inquiries “may be considered to the extent—but only to the extent—that they are

 relevant to determining whether the Rule 23 prerequisites for class certification are

 satisfied.” Id. (citations omitted).

 II.   Temporary Restraining Order/Preliminary Injunction

       The standards governing temporary restraining orders (“TRO”) and

 preliminary injunctions are “substantially identical.” Washington v. Trump, 847

 F.3d 1151, 1159 n.3 (9th Cir. 2017) (citation omitted); see Kaiser Found. Health




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 Plan, Inc. v. Queen’s Med. Ctr., Inc., 423 F. Supp. 3d 947, 951 n.1 (D. Haw.

 2019).

       FRCP 65(a) allows courts to issue preliminary injunctions. “[The] purpose

 of a preliminary injunction . . . is to preserve the status quo and the rights of the

 parties until a final judgment issues in the cause.” Ramos v. Wolf, 975 F.3d 872,

 887 (9th Cir. 2020) (alterations in original) (internal quotation marks and citation

 omitted).

       To obtain preliminary injunctive relief, a plaintiff must establish: (1) a

 likelihood of success on the merits, (2) a likelihood of irreparable harm in the

 absence of preliminary relief, (3) the balance of equities tips in favor of the

 plaintiff, and (4) an injunction is in the public interest. See Winter v. Nat. Res. Def.

 Council, Inc., 555 U.S. 7, 20 (2008) (citations omitted). Where, as here, the

 government is a party, the last two factors merge. See Drakes Bay Oyster Co. v.

 Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014).

       Mandatory injunctions ordering affirmative action by a defendant, go “well

 beyond simply maintaining the status quo . . . [and are] particularly disfavored.”

 Marlyn Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co., 571 F.3d 873, 879

 (9th Cir. 2009) (quoting Anderson v. United States, 612 F.2d 1112, 1114 (9th Cir.




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 1979), as amended (1980)).6 Mandatory injunctions, are “subject to a higher

 standard than prohibitory injunctions,” but “are permissible when ‘extreme or very

 serious damage will result’ that is not ‘capable of compensation in damages,’ and

 the merits of the case are not ‘doubtful.’” Hernandez v. Sessions, 872 F.3d 976,

 999 (9th Cir. 2017) (citation omitted). “The court’s finding of a strong likelihood

 that plaintiffs would succeed on the merits of their claims also evidences a

 conclusion that the law and facts clearly favor plaintiffs, meeting the requirement

 for issuance of a mandatory preliminary injunction.” Katie A., ex rel. Ludin v. Los

 Angeles County, 481 F.3d 1150, 1157 (9th Cir. 2007) (citation omitted).

       District courts should exercise caution in issuing injunctive orders and avoid

 becoming “enmeshed in the minutiae of prison operations.” Farmer v. Brennan,

 511 U.S. 825, 846–47 (1994) (quoting Bell v. Wolfish, 441 U.S. 520, 562 (1979)).

 Where appropriate, courts may exercise their discretion “by giving prison officials

 time to rectify the situation before issuing an injunction.” Id. at 847.

                                    DISCUSSION

 I.    Class Certification

       Plaintiffs request provisional certification of their proposed classes and

 subclasses for the purposes of their requested preliminary injunctive relief and ask


 6
   In contrast, a “prohibitory injunction prohibits a party from taking action and
 ‘preserves the status quo pending a determination of the action on the merits.’”
 Marlyn Nutraceuticals, 571 F.3d at 878–79 (brackets and citations omitted).
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 that they be appointed as class representative and that their counsel be appointed as

 class counsel. ECF No. 20-1 at 7, 8. They argue that class certification is

 appropriate because they satisfy the requirements set forth in FRCP 23(a) and

 23(b)(2). Id. at 13. Defendant challenges certification for lack of commonality

 and typicality,7 and he also contends that certification pursuant to FRCP 23(b)(2) is

 inappropriate.8 ECF No. 28 at 10, 15–16. The Court begins with FRCP 23(a)’s

 prerequisites.

       A.     FRCP 23(a)

              1.    Numerosity

       Numerosity is satisfied if “the class is so numerous that joinder of all

 members is impracticable.” Fed. R. Civ. P. 23(a)(1). This requirement mandates

 an “examination of the specific facts of each case and imposes no absolute



 7
   Defendant does not oppose numerosity or commonality at this time but reserves
 the right to do so in response to any future motion for class certification. ECF No.
 28 at 10 n.2.
 8
   Defendant further argues that the Class Certification Motion should be denied
 because the Injunction Motion is tethered to the FAC and is therefore moot. ECF
 No. 28 at 7 n.1. But it is unclear how the mooting of the Injunction Motion would
 necessitate denial of the Class Certification Motion, which was filed after the SAC
 to correspond with the allegations in the SAC. ECF No. 13 (“Plaintiffs are
 directed to file their motion for provisional class certification after filing their
 second amended complaint to ensure that the request pertains to the operative
 pleading.”); ECF No. 12. Although class certification is sought concurrently with
 the Injunction Motion to obtain class-wide relief, class certification can be decided
 independently of the present request for injunctive relief.
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 limitations.” Gen. Tel. Co. of the Nw. v. EEOC, 446 U.S. 318, 330 (1980). “[A]s a

 general rule, classes of 20 are too small, classes of 20–40 may or may not be big

 enough depending on the circumstances of each case, and classes of 40 or more are

 numerous enough.” Handloser v. HCL Techs. Ltd., Case No. 19-CV-01242-LHK,

 2021 WL 879802, at *5 (N.D. Cal. Mar. 9, 2021) (internal quotation marks and

 citation omitted).

        This requirement — uncontested by Defendant — is easily satisfied, as there

 are nearly 3,000 residents housed at DPS facilities, see ECF No. 20-1 at 14, and the

 joinder of these class members would be impracticable. Plaintiffs have therefore

 satisfied the numerosity requirement.

               2.     Commonality

        Commonality ensures that “there are questions of law or fact common to the

 class.” Fed. R. Civ. P. 23(a)(2). FRCP 23(a)(2) is permissively construed. See

 Staton v. Boeing Co., 327 F.3d 938, 953 (9th Cir. 2003) (quoting Hanlon v.

 Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998), overruled on other grounds

 by Wal-Mart, 564 U.S. 338). It requires class members’ claims to “‘depend upon a

 common contention’ and that the ‘common contention, moreover, must be of such

 a nature that it is capable of classwide resolution—which means that determination

 of its truth or falsity will resolve an issue that is central to the validity of each one

 of the claims in one stroke.’” Vaquero v. Ashley Furniture Indus., Inc., 824 F.3d


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 1150, 1153 (9th Cir. 2016) (quoting Wal-Mart, 564 U.S. at 350). Critical to

 certification “is not the raising of common questions—even in droves—but rather,

 the capacity of a class-wide proceeding to generate common answers apt to drive

 the resolution of the litigation.” Wal-Mart, 564 U.S. at 350 (internal quotation

 marks and citation omitted). “The existence of shared legal issues with divergent

 factual predicates is sufficient[.]” Staton, 327 F.3d at 953 (internal quotation

 marks and citation omitted). Therefore, “[s]o long as there is ‘even a single

 common question,’ a would-be class can satisfy the commonality requirement of

 Rule 23(a)(2).” Parsons v. Ryan, 754 F.3d 657, 675 (9th Cir. 2014) (some internal

 quotation marks and citations omitted).

       Defendant challenges commonality on the basis that Plaintiffs are subject to

 different policies applicable at their respective facilities and that their allegations

 regarding a failure to implement policies will require fact-intensive inquiries.9

 ECF No. 28 at 12–14. Plaintiffs acknowledge that they have different custody



 9
   To support this argument, Defendant submits declarations from the warden at
 each DPS facility. Ironically, the wardens’ declarations reflect the adoption of
 nearly identical policies across facilities. ECF Nos. 28-2 to 28-9 (taking the
 pandemic seriously; educating inmates and staff about COVID-19, vaccinations,
 sanitation, and hygiene; implementing enhanced cleaning schedule, social
 distancing measures; suspending family and friend visitations; screening for
 COVID-19 upon admission; identifying housing units for quarantine and medical
 isolation; providing cloth masks, encouraging mask wearing for inmates, and
 requiring mask wearing for staff; maintaining adequate supply of PPE; testing
 protocols for COVID-19; and offering COVID-19 testing and vaccines at intake).
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 statuses and are housed at multiple facilities with differing policies. ECF No. 20-1

 at 18. But they argue that commonality is nevertheless satisfied because they share

 a common set of facts and core questions of law: (1) they are confined at DPS

 correctional facilities and are therefore subject to the same policies, procedures,

 and customs that resulted in more than 1,500 inmates/detainees contracting

 COVID-19; (2) they are unable to adhere to social distancing practices, per the

 instruction of public health officials, due to the common conditions of confinement

 provided by DPS; (3) they are subject to the same conditions that actively promote

 the spread of COVID-19; (4) whether conditions at DPS facilities create a

 substantial risk that those in custody will be infected with COVID-19; (5) whether

 conditions at DPS facilities create a substantial risk that those infected with

 COVID-19 will face serious illness, long-term physical damage, or death; (6) did

 Defendant know, or should he have known, of this risk; and (7) is Defendant acting

 with deliberate indifference of this risk. Id. at 20–21.

       Central to this lawsuit is Defendant’s alleged failure to comply with its

 Response Plan, and the resulting harm to DPS inmates/detainees. “[N]umerous

 courts have concluded that the commonality requirement can be satisfied by proof

 of the existence of systemic policies and practices that allegedly expose inmates to

 a substantial risk of harm.” See Parsons, 754 F.3d at 681 (citations omitted). The

 infrastructure or population variations among the DPS correctional facilities are of


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 no consequence where, as here, there are many questions of fact and law common

 to the class that are capable of class-wide resolution. See id. at 678 (“The putative

 class and subclass members thus all set forth numerous common contentions

 whose truth or falsity can be determined in one stroke: whether the specified

 statewide policies and practices to which they are all subjected by ADC expose

 them to a substantial risk of harm.” (citation omitted)). Consequently, the Court

 concludes that Plaintiffs satisfy FRCP 23(a)(2).

              3.     Typicality

       Typicality requires “the claims or defenses of the representative parties [to

 be] typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “The

 purpose of the typicality requirement is to assure that the interest of the named

 representative aligns with the interests of the class.” Wolin v. Jaguar Land Rover

 N. Am., LLC, 617 F.3d 1168, 1175 (9th Cir. 2010) (internal quotation marks and

 citation omitted). Typicality is a permissive requirement so representative claims

 need not be substantially identical; they are “typical” as long as “they are

 reasonably coextensive with those of absent class members.” Just Film, Inc. v.

 Buono, 847 F.3d 1108, 1116 (9th Cir. 2017) (internal quotation marks and citation

 omitted). “Measures of typicality include ‘whether other members have the same

 or similar injury, whether the action is based on conduct which is not unique to the




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 named plaintiffs, and whether other class members have been injured by the same

 course of conduct.’” Id. (some internal quotation marks and citation omitted).

       Plaintiffs argue that they satisfy this requirement because their claims are

 typical of the classes and subclasses they represent; they are individuals

 incarcerated or detained at DPS facilities who face a substantial risk of contracting

 COVID-19 if measures are not immediately implemented and their claims concern

 Defendant’s alleged failure to effectuate adequate health measures in response to

 COVID-19. ECF No. 20-1 at 22. Defendant counters that Plaintiffs have also

 failed to demonstrate typicality because DPS operates multiple facilities across

 four islands, each managed by its own warden, with different physical

 configurations, housing styles, classes and types of inmates, and capacity levels.

 ECF No. 28 at 14. In short, Defendant contends that Plaintiffs cannot satisfy

 typicality because they “are not subject to the same confinement under the same

 allegedly unconstitutional conditions caused by the same entity.” Id. at 15. The

 Court is not persuaded.

       Defendant fails to apply the relevant standard. Typicality merely requires

 that representative claims are reasonably coextensive with absent class members’

 claims, which they are here. Considering the relevant measures — whether other

 class members have experienced the same or similar injury, whether the alleged

 conduct is not unique to the named plaintiffs, and whether other class members


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 have suffered injury as a result of the same course of conduct — Plaintiffs satisfy

 typicality. The unnamed class members have experienced the same or similar

 injuries by the same alleged course of conduct. Defendant’s alleged failure to

 implement and follow COVID-19 procedures has resulted in outbreaks within the

 facilities and a substantial risk of contracting COVID-19. That is, Plaintiffs’

 injuries “arose ‘from the same event or practice or course of conduct that gave rise

 to the claims of other class members and his claims were based on the same legal

 theory.’” Ramirez v. TransUnion LLC, 951 F.3d 1008, 1033 (9th Cir. 2020)

 (brackets and citations omitted), rev’d on other grounds, No. 20-297, 594 U.S. __,

 141 S. Ct. 2190 (2021). Thus, Plaintiffs satisfy the typicality requirement.

              4.    Adequacy of Representation

       FRCP 23(a)(4) requires “the representative parties [to] fairly and adequately

 protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). The Court must

 “carefully scrutinize the adequacy of representation in all class actions.” Rutledge,

 511 F.2d at 673 (internal quotation marks and citation omitted); see also Daly v.

 Harris, 209 F.R.D. 180, 196 (D. Haw. 2002) (citing id.). The purpose of the

 adequacy of representation requirement is to ensure that absent class members are

 “afforded adequate representation before entry of a judgment which binds them.”

 Hanlon, 150 F.3d at 1020 (citation omitted). Two inquiries determine whether

 representation will be fair and adequate: (1) whether “the named plaintiffs and


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 their counsel have any conflicts of interest with other class members” and (2)

 whether “the named plaintiffs and their counsel prosecute the action vigorously on

 behalf of the class.” Id. (citation omitted).

       Plaintiffs submit that they do not have any conflicts with the unnamed class

 members, they share a common interest in receiving adequate protection against

 COVID-19, the requested relief would benefit all class members equally, and they

 will vigorously prosecute the interests of the class through qualified counsel. ECF

 No. 20-1 at 23. Plaintiffs also argue that their counsel have extensive experience

 litigating complex class actions and civil rights litigation, including cases regarding

 unconstitutional corrections systems, and will zealously advocate on behalf of

 Plaintiffs and the class members. Id. at 23–24. In his Opposition, Defendant did

 not refute Plaintiffs’ or counsel’s ability to adequately represent the classes. The

 Court concludes that Plaintiffs and their counsel do not have conflicts with other

 class members and that they will vigorously prosecute the classes’ interests, as they

 have to date.

       Because Plaintiffs have satisfied FRCP 23(a)’s prerequisites, the Court now

 turns to FRCP 23(b)(2).

       B.        FRCP 23(b)(2)

       Plaintiffs request certification of an injunctive relief class. FRCP 23(b)(2)

 authorizes a court to certify an injunctive relief class when “the party opposing the


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 class has acted or refused to act on grounds that apply generally to the class, so that

 final injunctive relief or corresponding declaratory relief is appropriate respecting

 the class as a whole.” Fed. R. Civ. P. 23(b)(2). “[O]nly where the primary relief

 sought is declaratory or injunctive” is class certification appropriate under FRCP

 23(b)(2). Ellis v. Costco Wholesale Corp., 657 F.3d 970, 986 (9th Cir. 2011)

 (internal quotation marks and citation omitted). “The key to the (b)(2) class is ‘the

 indivisible nature of the injunctive or declaratory remedy warranted—the notion

 that the conduct is such that it can be enjoined or declared unlawful only as to all

 of the class members or as to none of them.’” Wal-Mart, 564 U.S. at 360 (citation

 omitted). Plaintiffs can satisfy FRCP 23(b)(2) if “class members complain of a

 pattern or practice that is generally applicable to the class as a whole.” Rodriguez

 v. Hayes, 591 F.3d 1105, 1125 (9th Cir. 2010) (internal quotation marks and

 citations omitted).

       Plaintiffs argue that certification of FRCP 23(b)(2) classes is appropriate

 because they request the same uniform relief due to DPS’s failure to mitigate the

 spread of COVID-19 in its facilities and an injunction would accord the same relief

 to all class members. ECF No. 20-1 at 25. Defendant contends that the requested

 injunctive relief is not amenable to certification under FRCP 23(b)(2) due to the

 variation in the implementation between facilities of DPS’s otherwise uniform




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 Response Plan, attributable to the facilities’ configurations, security levels, and

 populations. ECF No. 28 at 16.

       Here, Plaintiffs challenge the conditions of their confinement under the

 Eighth and Fourteenth Amendments and Defendant’s failure to mitigate the spread

 of COVID-19 in DPS facilities. They seek injunctive relief requiring Defendant to

 implement protocols and adhere to procedures to prevent COVID-19 transmission.

 ECF No. 14-1 at 2–4. This relief conforms with FRCP 23(b)(2). See Parsons, 754

 F.3d at 688–89. Contrary to Defendant’s assertion that an injunctive class cannot

 be certified because of the differences between facilities, the class members are

 allegedly suffering the same or similar injury that can be alleviated for all by

 uniform changes in and/or adherence to DPS policies and practices statewide. See

 id. at 689 (citations omitted). Accordingly, Plaintiffs have satisfied FRCP

 23(b)(2).

       C.     Breadth of Class Definitions

       Defendant also argues that Plaintiffs’ class definitions are overbroad

 because other cases certifying classes did not involve classes of inmates at all

 correctional facilities within a given state, and the classes should not include

 vaccinated inmates or those who recovered from COVID-19. ECF No. 28 at 16–

 19. These arguments are without merit.




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       Defendant’s effort to draw a distinction based on geographic proximity or

 number of facilities affected is misplaced and disregards pertinent facts, such as

 class size and the impracticability of joinder when class members are

 geographically separated across counties. In fact, the cases relied upon by

 Defendant, see ECF No. 28 at 17, support certification here. See, e.g., Roman v.

 Wolf, ED CV 20-00768 TJH (PVCx), 2020 WL 3869729, at *2, *4 (C.D. Cal. Apr.

 23, 2020) (provisionally certifying class covering 1,370 detainees at Adelanto

 Immigration and Customs Enforcement Processing Center); Ahlman v. Barnes, 445

 F. Supp. 3d 671, 684–85 (C.D. Cal. 2020) (“Ahlman I”) (noting that there are 3,047

 individuals incarcerated at the Orange County Jail and estimating that “both the

 Pre-Trial and Post-Conviction classes likely have over 1,000 individuals” and

 “about 1,200 inmates will be members of the Disability Subclass and at least 1,200

 will be members of the Medically-Vulnerable Subclass”); Gayle v. Meade, __ F.

 Supp. 3d __, 2020 WL 3041326, at *13 (S.D. Fla. June 6, 2020) (“Gayle I”)

 (“Petitioners are filing on behalf of a putative class of approximately 1400

 individuals. In addition to the large number of members here, the class is also

 geographically dispersed across different counties in South Florida—detainees are

 being held in three ICE detention centers. The size and geographical diversity of

 the class renders joinder of all members impracticable.” (citation omitted)).




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       Class certification in these cases did not turn on the number of facilities

 affected, nor did they prohibit certification of a classes implicating all facilities

 within a state. The number of inmates affected here is similar to classes certified

 by other courts, whether at one facility or multiple facilities. Moreover, the

 geographic separation across multiple islands, coupled with the inmates’ frequent

 transfer between facilities, demonstrate that joinder is particularly impractical.10

 The class definitions in other cases where certification was granted were also

 equally as broad as Plaintiffs’ proposed definitions. See Roman v. Wolf, 977 F.3d

 935, 944 (9th Cir. 2020) (“We further hold that the district court did not err by

 provisionally certifying a class of all Adelanto detainees. The alleged due process

 violations exposed all Adelanto detainees to an unnecessary risk of harm, not only

 those who are uniquely vulnerable to COVID-19 or who are not subject to

 mandatory detention.”); Criswell v. Boudreaux, No. 1:20-cv-01048-DAD-SAB,

 2020 WL 5235675, at *5, *12, *15 (E.D. Cal. Sept. 2, 2020) (provisionally

 certifying a class of “all people who are now, or in the future will be, incarcerated

 in Tulare County Jails,” with approximately 1,086 people then incarcerated at three

 facilities); Parsons, 754 F.3d at 678 (affirming a “class of ‘all prisoners who are




 10
    See Gayle I, 2020 WL 3041326, at *13 (identifying “geographic diversity of the
 class members” as one of the factors to consider in deciding “whether joinder of all
 members is practicable in view of the numerosity of the class”).
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 now, or will in the future be, subjected to the medical, mental health, and dental

 care policies and practices of the ADC’”).

       The Court already rejected Defendant’s argument that the differences

 between facilities precludes certification and is again unpersuaded by Defendant’s

 contention that these differences render the class definitions unworkable.

 Regardless of the facilities’ distinctions, all class members would obtain relief

 from the issuance of the proposed injunction. See Parsons, 754 F.3d at 689

 (“[C]onsidering the nature and contours of the relief sought by the plaintiffs, the

 district court did not abuse its discretion in concluding that a single injunction and

 declaratory judgment could provide relief to each member of the proposed class

 and subclass.” (footnote omitted)).

       The Court also declines to exclude vaccinated inmates and those who

 previously contracted COVID-19 from the proposed classes and subclasses.11

 Medical and scientific data continue to evolve, with conflicting information about

 the length of protective immunity following COVID-19 infection and the efficacy




 11
    The Response Plan treats vaccinated individuals the same as unvaccinated
 individuals for the purposes of quarantine following exposure to someone with
 suspected or confirmed COVID-19, citing the “turnover of inmates, higher risk of
 transmission, and challenges in maintaining recommended physical distancing in
 correctional settings[.]” ECF No. 22-12 at 45. This undercuts Defendant’s request
 to exclude vaccinated inmates.

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 of vaccines against the new variants.12 For the purposes of provisional class

 certification and preliminary injunctive relief, the Court certifies the classes

 proposed by Plaintiffs. If circumstances change during the course of litigation, the

 parties may request modification of the class definitions.

       Having met FRCP 23(a)’s and 23(b)(2)’s requirements, Plaintiffs are entitled

 to provisional class certification.

 II.   TRO/Preliminary Injunction13

       A.     Winter Factors

       The Court now turns to the Winter factors to determine whether Plaintiffs

 are entitled to a preliminary injunction. Plaintiffs urge the Court to review their

 requested injunction as prohibitory, not mandatory, because they are requesting

 maintenance of the status quo, defined by Defendant as DPS facilities



 12
   To illustrate, at least one Plaintiff contracted COVID-19 post vaccination. ECF
 No. 26-10 (“Mobley Decl.”) ¶¶ 3, 15.
 13
    Defendant’s supposition that the Injunction Motion was mooted by the filing of
 the SAC, asserted for the first time in opposition to the Class Certification Motion,
 ECF No. 28 at 7 n.1, is unavailing. In assessing the Injunction Motion, the Court
 evaluates the causes of action and relief requested in the SAC, which are
 substantially similar to the FAC. So Defendant’s reliance on Lacey v. Maricopa
 County, 693 F.3d 896 (9th Cir. 2012) (en banc), is misdirected. Given the
 expedited nature of the request, judicial economy would not be served by ordering
 Plaintiffs to file a renewed Injunction Motion, especially when Defendant
 submitted his opposition after Plaintiffs filed the SAC and had an opportunity to
 challenge a preliminary injunction based on the allegations therein.

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 implementing the Response Plan. ECF No. 26-1 at 11–12. Insofar as Plaintiffs

 claim that DPS is not complying with its Response Plan, and they request the

 appointment of a special master to develop and implement their Proposed

 Response Plan, they arguably seek a mandatory injunction, i.e., an order requiring

 Defendant to take certain action. See Marlyn Nutraceuticals, 571 F.3d at 879

 (citation omitted). Even though DPS claims it is compliant, the problematic

 conditions identified by Plaintiff would not change if the status quo is merely

 maintained, and Plaintiffs would not obtain the relief they desire. See Hernandez,

 872 F.3d at 999 (“Mandatory injunctions are most likely to be appropriate when

 ‘the status quo . . . is exactly what will inflict the irreparable injury upon

 complainant.’” (alteration in original) (citation omitted)). Assuming without

 deciding that the requested injunction is mandatory, Plaintiffs meet the

 corresponding stringent standard for the reasons discussed below.14 And because




 14
    The Ninth Circuit recognizes that its “approach to preliminary injunctions, with
 separate standards for prohibitory and mandatory injunctions, is controversial,” and
 has faced widespread criticism. Hernandez, 872 F.3d at 997. Other district courts
 in the Ninth Circuit that addressed similar requests for preliminary injunctive relief
 have applied the heighted mandatory injunction standard. See, e.g., Maney v.
 Brown, Case No. 6:20-cv-00570-SB, __ F.3d __, 2021 WL 354384, at *10–16 (D.
 Or. Feb. 2, 2021) (“Maney II”); Alcantara v. Archambeault, No. 20cv0756 DMS
 (AHG), __ F.3d __, 2020 WL 2315777, at *7 n.5 (S.D. Cal. May 1, 2020); Doe v.
 Barr, Case No. 20-cv-02263-RMI, 2020 WL 1984266, at *3–6 (N.D. Cal. Apr. 27,
 2020).

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 they satisfy this standard, they would easily meet the more lenient “sliding scale”

 standard also employed by the Ninth Circuit.15

              1.     Likelihood of Success on the Merits16

       Plaintiffs contend that they are likely to succeed on their claims because the

 harm from COVID-19 is sufficiently serious and DPS recognizes the seriousness,

 but it nevertheless continues to violate its own policies. ECF No. 6-1 at 21–28.

 Defendant argues that Plaintiffs have not shown a likelihood of success on the

 merits or that there are serious questions going to the merits because he has

 proactively adopted and implemented measures to prevent and control the spread

 of COVID-19 in DPS facilities. ECF No. 22 at 29.

                     a.     Deliberate Indifference

       Plaintiffs challenge the conditions of their confinement under the Eighth and




 15
    Under the “sliding scale” approach to preliminary injunctions, “the elements of
 the preliminary injunction test are balanced, so that a stronger showing of one
 element may offset a weaker showing of another.” All. for the Wild Rockies v.
 Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011). The issuance of a preliminary
 injunction may be appropriate when there are “‘serious questions going to the
 merits’ and a balance of hardships that tips sharply towards the plaintiff . . . so long
 as the plaintiff also shows that there is a likelihood of irreparable injury and that
 the injunction is in the public interest.” Id. at 1135.
 16
   Defendant does not challenge Plaintiffs’ exhaustion of administrative remedies
 under the Prison Litigation Reform Act (“PLRA”). See 42 U.S.C. § 1997e(a).


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 Fourteenth Amendments. “Inmates who sue prison officials for injuries suffered

 while in custody may do so under the Eighth Amendment’s Cruel and Unusual

 Punishment Clause or,” in the case of pretrial detainees, “under the Fourteenth

 Amendment’s Due Process Clause.” Castro v. County of Los Angeles, 833 F.3d

 1060, 1067–68 (9th Cir. 2016) (citation omitted). The Eighth Amendment imposes

 duties on prison officials, “who must provide humane conditions of confinement”

 such as “ensur[ing] that inmates receive adequate food, clothing, shelter, and

 medical care” and “tak[ing] reasonable measures to guarantee the safety of the

 inmates[.]” Farmer, 511 U.S. at 832–33 (internal quotation marks and citations

 omitted). “[P]retrial detainees (unlike convicted prisoners) cannot be punished at

 all, much less ‘maliciously and sadistically.’” Kingsley v. Hendrickson, 576 U.S.

 389, 400 (2015) (citations omitted).

       Both clauses require a plaintiff to “show that the prison officials acted with

 ‘deliberate indifference.’” Castro, 833 F.3d at 1068. Deliberate indifference

 requires a showing that “prison officials were aware of a ‘substantial risk of serious

 harm’ to an inmate’s health or safety” and that there was no “‘reasonable’

 justification for the deprivation, in spite of that risk.” Thomas v. Ponder, 611 F.3d

 1144, 1150 (9th Cir. 2010) (quoting Farmer, 511 U.S. at 837, 844) (footnotes

 omitted). This requires a state of mind derived from criminal recklessness; that is,

 “the official must both be aware of facts from which the inference could be drawn


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 that a substantial risk of serious harm exists, and he must also draw the inference.”

 Farmer, 511 U.S. at 837; see also Clem v. Lomeli, 566 F.3d 1177, 1181 (9th Cir.

 2009).

          To succeed on an Eighth Amendment claim, a plaintiff must “‘objectively

 show that he was deprived of something “sufficiently serious,” and ‘make a

 subjective showing that the deprivation occurred with deliberate indifference to the

 inmate’s health or safety.’” Thomas, 611 F.3d at 1150 (quoting Foster v. Runnels,

 554 F.3d 807, 812 (9th Cir. 2009)). Establishing a Fourteenth Amendment

 violation is less burdensome as a plaintiff need only a show objective deliberate

 indifference, not subjective deliberate indifference. See Gordon v. County of

 Orange, 888 F.3d 1118, 1124–25 (9th Cir. 2018).

                            i.     Objective Deliberate Indifference

       The Ninth Circuit applies the following test in evaluating objective

 deliberate indifference:

               (i) the defendant made an intentional decision with respect to the
               conditions under which the plaintiff was confined; (ii) those
               conditions put the plaintiff at substantial risk of suffering serious
               harm; (iii) the defendant did not take reasonable available
               measures to abate that risk, even though a reasonable official in
               the circumstances would have appreciated the high degree of risk
               involved—making the consequences of the defendant’s conduct
               obvious; and (iv) by not taking such measures, the defendant
               caused the plaintiff’s injuries.




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 Id. at 1125. The third element requires the defendant’s conduct to be objectively

 unreasonable, which turns on the facts and circumstances of each case. See id.

 (citation omitted). An individual is not deprived of life, liberty, or property under

 the Fourteenth Amendment based on a “mere lack of due care by a state official.”

 Id. (internal quotation marks and citation omitted). Consequently, a plaintiff “must

 ‘prove more than negligence but less than subjective intent—something akin to

 reckless disregard.’” Id. (footnote and citation omitted). This standard dispenses

 of the need to prove “subjective elements about the officer’s actual awareness of

 the level of risk.” Id. n.4. (citation omitted). Applying this standard, Plaintiffs

 have shown a strong likelihood of success on their Fourteenth Amendment claim

 and the objective prong of their Eighth Amendment claim.

         At this point in the pandemic, the seriousness and transmissibility of

 COVID-19 is well established, and it has proven uniquely problematic for prisons

 and other detention facilities. DPS is no exception, having experienced outbreaks

 at more than half of its facilities and inmate COVID-19 infections exceeding 50%.

 If the conditions described in the declarations submitted by Plaintiffs continue, the

 risk of harm to all inmates is undeniable. The Court therefore focuses on whether

 Defendant has done or is doing enough to reasonably keep inmates healthy and

 safe.




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        The parties offer somewhat differing accounts of the conditions at DPS

 facilities.17 Defendant submits declarations from each DPS facility’s warden –

 Cramer Mahoe (“Mahoe”), Scott Harrington (“Harrington”), Sean Ornellas

 (“Ornellas”), Wanda Craig (“Craig”), Eric Tanaka (“Tanaka”), Deborah Taylor

 (“Taylor”), Francis Sequeira (“Sequeira”), and Neal Wagatsuma (“Wagatsuma”);

 the Deputy Director for DPS’s Corrections Division – Tommy Johnson

 (“Johnson”); DPS’s Corrections Health Care Administrator – Gavin Takenaka

 (“Takenaka”); and an Advanced Practice Registered Nurse and Section Health

 Care Administrator for HCCC – Stephanie Higa (“Higa”), that uniformly recite

 provisions from the Response Plan, while Plaintiffs share personal reports from

 inmates and DPS staff at different facilities. In other words, Defendant conveys

 what should happen at DPS facilities and Plaintiffs reveal what is occurring or has

 occurred at the facilities.

        The wardens’ declarations contain boilerplate language indicating that their

 facilities have adopted the same or substantially similar policies, which are also



 17
    At the hearing, defense counsel argued that Plaintiffs failed to submit any
 declarations concerning KCCC and WCCC and that those facilities would
 therefore inappropriately be subject to an injunction. The Court is unconvinced.
 Inmates are frequently moved between facilities, so outbreaks are a system-wide
 concern. KCCC and WCCC should not be exempt from the injunction, as the
 injunction would order relief contemplated by the Response Plan, and all facilities
 are subject to the Response Plan.

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 consistent with the general DPS policies identified by Johnson, Takenaka, and

 Higa. See ECF Nos. 22-1 (“Takenaka Decl.”); 22-2 (“Johnson Decl.”); 22-3

 (“Mahoe Decl.”); 22-4 (“Harrington Decl.”); 22-5 (“Ornellas Decl.”); 22-6 (“Craig

 Decl.”); 22-7 (“Tanaka Decl.”); 22-8 (“Taylor Decl.”); 22-9 (“Sequeira Decl.”);

 22-10 (“Wagatsuma Decl.”); 22-11 (“Higa Decl.”). But the mere existence of

 policies is of little value if implementation and compliance are lacking.

       The declarations Plaintiffs submitted offer on-the-ground descriptions of

 what is actually happening at the facilities. And the reality is that the inmates have

 no motivation to fabricate (they are not seeking release nor money damages), while

 DPS staff have a disincentive to raise these issues concerning their employer in

 such a public forum. Therefore, the Court finds credible the declarations Plaintiffs

 submitted. This is not to say that the declarations supplied by Defendant are

 incredible; rather, as detailed below, the declarations Plaintiffs submitted were

 more compelling due to their specificity and direct perspective.

        In a nutshell, Defendant defends his COVID-19 response by claiming that

 DPS has proactively and vigilantly addressed COVID-19, beginning with the

 adoption of a department-wide Response Plan on March 23, 2020 — consistent

 with CDC guidelines that has been updated to reflect evolving CDC guidance —

 and a pandemic response plan tailored to each DPS facility, based on space, unique

 challenges, and population and staff needs. ECF No. 22 at 14–15; Johnson Decl.


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 ¶¶ 8–9. According to Defendant, the following measures have been implemented

 at DPS facilities: screening, quarantine and medical isolation, medical care,

 sanitation and hygiene, social distancing, personal protective equipment (“PPE”),

 education and information, testing, and vaccination. ECF No. 22 at 15–20.

       Screening and Testing: Defendant claims that all facilities have screening

 procedures for inmates, staff, and visitors — new inmates are screened by medical

 staff for COVID-19 symptoms and risk factors while staff, visitors, volunteers, and

 vendors are screened for symptoms through surveys and temperature checks prior

 to entry. ECF No. 22 at 16; Takenaka Decl. ¶¶ 15–16; Johnson Decl. ¶¶ 13–14;

 Harrington Decl. ¶ 15; Ornellas Decl. ¶¶ 8–9; Craig Decl. ¶ 8; Tanaka Decl. ¶ 13;

 Taylor Decl. ¶ 12; Sequeira Decl. ¶ 13; Wagatsuma Decl. ¶ 12; Higa Decl. ¶ 9. At

 HCCC, existing inmates are also supposedly screened through self-reporting,

 temperature and symptom checks for those in quarantine units, medical

 assessments for older inmates and those with certain medical conditions, and upon

 departure and return to the facility. Higa Decl. ¶¶ 10–12.

       Defendant also represents that COVID testing is continuously conducted at

 all DPS facilities and that DPS performs diagnostic and screening testing and has

 expanded non-exposure asymptomatic screening testing to: (1) broad-based

 testing; (2) new admission and day 14 routine intake quarantine testing; (3) pre-

 medical procedure testing; (4) pre-release testing for inmates entering community


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 programs; (5) pre-flight testing for inmates transferred to another facility; and (6)

 surveillance testing of randomly selected inmates. Takenaka Decl. ¶¶ 19–20, 25.

       Plaintiffs paint a different picture, providing declarations from inmates and

 staff averring that not all new inmates are screened or tested for COVID-19, nor

 are all inmates tested before transferring to another facility. ECF No. 6-4 (Decl. of

 Lisa O. Jobes (“Jobes Decl.”)) ¶ 6.g; ECF No. 6-6 (Decl. of Ryan Tabar (“Tabar

 Decl.”)) ¶ 6.b; ECF No. 6-7 (Decl. of Marie Ahuna (“Ahuna Decl.”)) ¶ 5.f; ECF

 No. 6-10 (Decl. of Isaac Nihoa (“Nihoa Decl.”)) ¶ 11; ECF No. 6-13 (“Alvarado

 Decl. I”) ¶¶ 10–11; ECF No. 6-15 (Decl. of Dustin Snedeker-Abadilla (“Snedeker-

 Abadilla Decl. I”)) ¶ 6; ECF No. 26-7 (Decl. of William Napeahi (“Napeahi

 Decl.”)) ¶ 9; ECF No. 26-8 (Decl. of Pokahea Lipe (“Lipe Decl.”)) ¶ 6; ECF No.

 26-16 (Decl. of Todd Bertilacci (“Bertilacci Decl.”)) ¶ 8; ECF No. 26-17

 (“Snedeker-Abadilla Decl. II”) ¶¶ 7–9. Mahoe, HCCC’s Warden, admits that

 inmates are not tested upon arrival and are placed in a holding area separated by

 chain-link fences — dubbed the “dog cages” — to be later screened by healthcare

 staff.18 Mahoe Decl. ¶¶ 11–13.


 18
    The Court is troubled by the allegation that the HCCC administration fails to
 inform staff when COVID-positive inmates are in close proximity. Rosete-
 Arellano Decl. ¶ 12 (learning from DPS guards that COVID-positive inmates were
 being held in the dog cages and in the hallway); Jobes Decl. ¶ 9 (learning from a
 detainee in the dog cages that other detainees in the dog cages had COVID-19);
 Nihoa Decl. ¶ 4 (learning from the inmates he was supervising that they had
                                                                      (continued . . .)
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       Quarantine and Medical Isolation: Defendant represents that DPS employs

 medical and isolation strategies to contain and control COVID-19 transmission and

 that each facility has units designated for quarantine and medical isolation. ECF

 No. 22 at 16; Harrington Decl. ¶ 16; Ornellas Decl. ¶ 10; Craig Decl. ¶ 10; Tanaka

 Decl. ¶ 14; Taylor Decl. ¶ 13; Sequeira Decl. ¶ 14; Wagatsuma Decl. ¶ 13; Johnson

 Decl. ¶¶ 25–26. Defendant also offers the caveat that exceptions are sometimes

 necessary due to space and security concerns. Johnson Decl. ¶¶ 15, 27.

       Plaintiffs describe a “quarantine” process that involves mixing multiple

 inmates with unknown COVID statuses in the HCCC dog cages, the fishbowl, or a

 visitor’s room, and introducing new inmates into those spaces daily. ECF No. 6-1

 at 14–15; Jobes Decl. ¶¶ 6.h–i, 7; Nihoa Decl. ¶ 13; Snedeker-Abadilla Decl. I

 ¶ 10; Lipe Decl. ¶ 9. This is consistent with Mahoe’s admission that HCCC

 frequently lacks the physical space to completely quarantine new inmates for ten

 days and instead places them in the fishbowl, a multi-purpose room, to monitor

 them for COVID-19 symptoms and to separate them from the inmate population.

 Mahoe Decl. ¶ 16. And while all incoming inmates are purportedly screened for

 COVID-19 symptoms and exposure upon arrival at the facilities, see Takenaka


 (. . . continued)
 COVID-19 and testing positive for COVID-19 a few days later). While DPS staff
 are not parties to this action and the Court is not factoring this into Plaintiffs’
 likelihood of success, the alleged lack of notification illustrates another symptom
 of the indifference.
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 Decl. ¶ 16, at the hearing, Defendant’s counsel admitted that the intake process at

 HCCC — which precedes any testing and involves the housing of numerous

 inmates in confined spaces — can take several hours.

       Plaintiffs also report multiple instances of DPS mixing COVID-positive

 and/or symptomatic inmates with COVID-negative inmates, which resulted in

 clusters of COVID-19 infections at different facilities. ECF No. 6-1 at 13–14; ECF

 No. 26-6 (“Deguair Decl.”) ¶¶ 7, 9, 13; Napeahi Decl. ¶¶ 6–8, 11–12, 15–21, 25;

 Lipe Decl. ¶¶ 16–20, 29–30; ECF No. 26-9 (“Chatman Decl.”) ¶ 6; ECF No. 26-10

 (“Mobley Decl.”) ¶¶ 8–11, 15–16; ECF No. 26-11 (Decl. of Tyson Olivera-Wamar

 (“Olivera-Wamar Decl.”)) ¶¶ 7–19; ECF No. 26-12 (“Granados Decl.”) ¶¶ 9–10;

 ECF No. 26-15 (Decl. of Nicholas Hall (“Hall Decl.”)) ¶¶ 8–18; Bertilacci Decl.

 ¶¶ 9–10, 14–17; ECF No. 6-14 (Decl. of Jeffrey Parent (“Parent Decl.”)) ¶ 13.

       Living Conditions/Social Distancing: Defendant asserts that DPS has

 implemented social distancing strategies, adapted for each facility, including

 limitation of transports and movements, suspension of visitation and certain

 programs, restructured recreation and meals, bunk rearrangement so inmates sleep

 head to foot, staggered pill lines, medication administration at modules, and spaced

 seating in common areas.19 ECF No. 22 at 17–18; Harrington Decl. ¶¶ 13–14;


 19
    Defendant accuses Plaintiffs of failing to submit evidence showing that social
 distancing is supported by medical evidence, see ECF No. 22 at 43, while
                                                                     (continued . . .)
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 Ornellas Decl. ¶¶ 15–16; Craig Decl. ¶¶ 16–17; Tanaka Decl. ¶¶ 11–12; Taylor

 Decl. ¶¶ 10–11; Sequeira Decl. ¶¶ 11–12; Wagatsuma Decl. ¶¶ 10–11; Johnson

 Decl. ¶ 23.

         Meanwhile, Plaintiffs describe eating shoulder-to-shoulder in the chow halls

 and indicate that inmates are regularly packed into small spaces — 40 to 60

 inmates in the fishbowl, which measures 31.5 feet by 35.3 feet,20 where they sleep

 on thin mats on the floor three to six inches apart; up to seven inmates in the dog

 cages, which measure five feet by ten feet; up to ten inmates in the visitor’s room

 at HCCC, which is ten feet by twelve feet; 40 to 60 inmates in a 25-foot-by-35-foot

 room at Waiawa called the “pavilion.” Jobes Decl. ¶ 8; Ahuna Decl. ¶ 5.h–i; Tabar

 Decl. ¶ 7.a; Parent Decl. ¶ 21; Snedeker-Abadilla Decl. I ¶¶ 8, 12. The dog cages,

 fishbowl, and visitor’s room do not have bathrooms or running water, so inmates

 housed there have restricted access to restrooms and water. Because guards often

 deny inmates’ restroom and water requests, inmates are forced to urinate on




 (. . . continued)
 simultaneously claiming that DPS facilities are social distancing to the extent
 possible, submitting declarations from Johnson and the wardens attesting that they
 have implemented social distancing practices, and emphasizing that an inability to
 social distance does not amount to deliberate indifference. See id. at 39.
 20
      See Johnson Decl. ¶ 38.

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 themselves, on walls, or in cups. And constant toilet clogging and overflow in the

 adjacent restroom causes the fishbowl to smell like urine and feces.21 Jobes Decl.

 ¶ 8; Tabar Decl. ¶¶ 7–8; ECF No. 6-8 (Decl. of Erin Loredo (“Loredo Decl.”))

 ¶¶ 10, 12–17; Snedeker-Abadilla Decl. I ¶¶ 15–17, 19–26. Inmates are unable to

 wash their hands in these holding areas and they are not provided with cleaning

 products. Snedeker-Abadilla Decl. I ¶ 30; Tabar Decl. ¶ 7.p. Staff have also

 observed mice and rats in the area, as well as other parts of HCCC. Rosete-

 Arellano Decl. ¶ 9; Loredo Decl. ¶ 19.

       Mahoe represents that ACOs “do their best” to provide water to inmates in

 the dog cages but may not be able to readily allow restroom access depending on

 circumstances. Mahoe Decl. ¶ 15. He refutes allegations that inmates in the

 fishbowl are denied restroom access or water, stating that a water jug is filled

 during every meal and upon request. Id. ¶ 20. It is unclear if this is mere policy or

 actual practice because staff claims that Mahoe has not performed a walk-through

 of the facility since he started working at HCCC, despite DPS policy that the

 warden should do two daily walk-throughs to ensure compliance with protocols.

 Jobes Decl. ¶¶ 12–13.



 21
    These conditions are alarming, with or without COVID-19. “The Constitution
 ‘does not mandate comfortable prisons,’ but neither does it permit inhumane
 ones[.]” Farmer, 511 U.S. at 832 (citations omitted).

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        HCCC started moving inmates from the fishbowl to other housing units, and

 Johnson issued a directive that inmates may not stay overnight in the dog cages.

 Johnson Decl. ¶ 39; Mahoe Decl. ¶ 24. At the hearing, Plaintiffs’ counsel argued

 that the new housing accommodations are equally unsuitable because not only are

 they smaller and proportionately as overcrowded as the fishbowl, they similarly

 have no running water or toilets.

        Mask Wearing/PPE: Defendant argues that staff are always required to

 wear masks unless medically or operationally excepted and that PPE is provided

 for certain tasks like entering quarantine or isolation units, transporting inmates,

 and interacting with an individual with suspected or confirmed COVID-19.

 Defendant also supplies inmates and staff with multiple cloth masks that can be

 laundered. ECF No. 22 at 18; Johnson Decl. ¶¶ 17, 18, 21. According to

 Plaintiffs, mask wearing is inconsistent at best with minimal enforcement, if at all,

 and masks and PPE are not necessarily provided to staff. Ahuna Decl. ¶¶ 8–9;

 Rosete-Arellano Decl. ¶ 15; Loredo Decl. ¶ 8; Nihoa Decl. ¶ 4.b–c; Alvarado Decl.

 I ¶ 7.e, g.

        Cleaning Supplies and Protocols: According to Defendant, inmates are

 provided with soap and towels in restrooms and cells; additional are supplied at the

 inmates’ request, and towels are laundered twice daily. ECF No. 22 at 17; Johnson

 Decl. ¶ 20. Defendant also represents that the facilities maintain an enhanced


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 cleaning schedule for housing units; transportation vans are sanitized daily; high

 touch areas are cleaned and sanitized daily; common areas and housing are

 disinfected and cleaned daily; staff disinfects their work areas; and inmates receive

 cleaning supplies and gloves to clean their personal areas. ECF No. 22 at 17;

 Tanaka Decl. ¶ 9; Taylor Decl. ¶ 8; Sequeira Decl. ¶ 9; Wagatsuma Decl. ¶ 8;

 Harrington Decl. ¶ 10; Ornellas Decl. ¶ 14; Craig Decl. ¶ 15.

       The declarations submitted by Plaintiffs suggest otherwise. Plaintiffs, other

 inmates, and staff claim that inmates do not receive cleaning supplies; hand

 sanitizer and wipes are unavailable in housing units; soap must be purchased with

 commissary money; cleaning is left to the inmates’ discretion; when provided,

 cleaning products are watered down; and cells housing COVID-positive inmates

 are not cleaned before new occupants move in. Chatman Decl. ¶ 18; ECF No. 26-

 13 (“Alvarado Decl. II”) ¶ 4.g,i–j; Snedeker-Abadilla Decl. I ¶¶ 27, 30; Parent

 Decl. ¶¶ 6.b–c, 15, 20.b; Ahuna Decl. ¶ 11; Loredo Decl. ¶ 9 (indicating that she

 was not provided with cleaning supplies for her office at HCCC).

       Identification of Older and Medically Vulnerable Inmates: Defendant

 explains that medical staff conducts assessments within 14 days of admission,

 including the identification of older adults and inmates with medical conditions

 that put them at an increased risk of severe illness from COVID-19. Takenaka

 Decl. ¶ 18. Both staff and inmates indicate that no assessments occur, and inmates


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 with medical conditions have not been isolated or identified as high risk, which

 resulted in COVID-19 infections and hospitalization. Nihoa Decl. ¶ 10; Alvarado

 Decl. I. ¶ 8; ECF No. 6-9 (Decl. of Jason Cummings (“Cummings Decl.”)) ¶¶ 7–

 13; cf. Snedeker-Abadilla Decl. I ¶¶ 10–11, 31–34 (explaining that he was held in

 the fishbowl for months, and was initially told it was for “quarantine” even though

 he was housed with 40 to 50 other males and new detainees were added daily).

       The evidence before the Court demonstrates that Defendant has not taken

 reasonable available measures to abate the risks caused by the foregoing

 conditions, knowing full well — based on multiple prior outbreaks — that serious

 consequences and harm would result to the inmates. And Plaintiffs have suffered

 injuries as a result. See Roman, 977 F.3d at 943 (“The Government was aware of

 the risks these conditions posed, especially in light of high-profile outbreaks at

 other carceral facilities that had already occurred at the time, and yet had not

 remedied the conditions. Its inadequate response reflected a reckless disregard for

 detainee safety.”). Defendant did not submit persuasive evidence contradicting the

 detailed accounts of Plaintiffs, inmates, and DPS staff showing a failure to

 implement and/or comply with the Response Plan. The declarations relied upon by

 Defendant offer summaries of provisions in the Response Plan without specific

 examples of compliance. Johnson provides some details about measures taken to

 address the HCCC outbreak and Mahoe responds to certain allegations concerning


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 the fishbowl, dog cages, PPE, cleaning supplies, communications, and social

 distancing during recreation time. However, they too were couched in generalities.

        Policies are meaningless if they are not followed. Although Defendant

 attempts to characterize the failures identified by Plaintiffs as “occasional lapses in

 compliance by PSD staff,” see ECF No. 22 at 33, many of the failures — such as

 the cramped housing of inmates in the fishbowl at HCCC or the need for inmates

 to urinate in cups due to a lack of access to toilets — are more than simple lapses

 and demonstrate objective deliberate indifference. Consequently, there is a strong

 likelihood that Plaintiffs will prevail on the merits of their Fourteenth Amendment

 claim and satisfy the objective prong of their Eighth Amendment Claim.

                            ii.   Subjective Deliberate Indifference

        This subjective standard applicable to Eighth Amendment claims requires an

 official to “know[] of and disregard[] an excessive risk to inmate health or safety.”

 Gordon, 888 F.3d at 1125 n.4. (internal quotation marks and citation omitted).

 Thus, the Court must determine if Plaintiffs will be able to establish that Defendant

 is aware of, but is disregarding, an excessive risk to Plaintiffs’ health or safety by

 failing to take measures to prevent or mitigate the spread of COVID-19 in DPS

 facilities.

        Defendant cannot reasonably claim ignorance of the seriousness of COVID-

 19 at this stage in the pandemic, nor the consequences that could result from a


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 failure to take necessary steps to prevent transmission in DPS facilities.

 Approximately 1,575 inmates and 240 correctional staff have contracted COVID-

 19, and seven inmates died. See https://dps.hawaii.gov/blog/2020/03/17/

 coronavirus-covid-19-information-and-resources/ (last visited July 13, 2021).

 Prisoners have tested positive for COVID-19 at 17.4 times the rate in Hawai‘i

 overall and have died at 5.1 times the rate. See https://www.themarshallproject.

 org/2020/05/01/a-state-by-state-look-at-coronavirus-in-prisons (last visited July 13,

 2021). Halawa, MCCC, OCCC, Waiawa, and HCCC already experienced

 outbreaks and given DPS’s alleged current practices (not policies), others are

 inevitable. Despite this knowledge, it appears that Defendant continues to

 disregard the excessive risk to inmate health and safety. The inmate populations

 are in constant flux and the arrival of new inmates presents an ongoing threat of

 exposure to new sources of infection, especially if new inmates are not properly

 screened, tested, or quarantined. Many of the concerning facts outlined in the

 preceding section support a finding of subjective deliberate indifference because

 they evince Defendant’s knowing disregard of excessive risk to inmate health and

 safety. However, the recent transfer of inmates best exemplifies this disregard, and

 here, shows that there is a strong likelihood that Plaintiffs will establish subjective

 deliberate indifference.




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       In an effort to alleviate overcrowding at HCCC during the middle of a

 COVID-19 outbreak, Defendant chartered private flights to transport dozens of

 inmates to facilities on Oahu. Johnson Decl. ¶ 36; ECF 26-14. Notwithstanding

 Defendant’s public statement that only inmates who were medically cleared of

 COVID-19 were considered for transfer, see ECF No. 26-14, inmates who were

 symptomatic and untested, or had yet to receive test results, were among those

 transferred. Hall Decl. ¶¶ 9–11; Bertilacci Decl. ¶ 8; Snedeker-Abadilla Decl. II

 ¶ 7; Napeahi Decl. ¶¶ 9, 11–12; Olivera-Wamar Decl. ¶¶ 7, 9–12, 14. Many of

 these inmates informed staff that they felt ill. Hall Decl. ¶ 12; Napeahi Decl. ¶ 13;

 Olivera-Wamar Decl. ¶¶ 8, 13. At least nine of these inmates tested positive for

 COVID-19 at Halawa. ECF No. 26-1 at 6. Inmates from HCCC were grouped

 with inmates from other facilities while they awaited their COVID-19 test results.

 Hall Decl. ¶¶ 14–15; Bertilacci Decl. ¶ 9; Olivera-Wamar Decl. ¶¶ 15–16; Napeahi

 Decl. ¶¶ 15–17. COVID-positive and COVID-negative inmates are housed in the

 same open-air modules, share common spaces and devices, and are able to shake

 hands through the bars of their cells. Olivera-Wamar Decl. ¶¶ 15, 19; Bertilacci

 Decl. ¶¶ 9–10, 13–17; Hall Decl. ¶ 14; Napeahi Decl. ¶¶ 20, 23, 25. One of the

 COVID-positive transferees has requested, but not received, medical treatment for

 his symptoms. Napeahi Decl. ¶ 24.




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          This is problematic on multiple levels. Defendant knowingly (1) transported

 symptomatic inmates from a facility with an active COVID-19 outbreak, (2) who

 told staff they were ill, (3) who were infected, (4) but whose infections were

 unconfirmed due to late or no testing, (5) on an airplane, (6) to a facility with no

 active COVID-19 cases that previously experienced an outbreak, and (7) then

 housed those inmates with COVID-negative inmates. There is almost no clearer an

 example of complete disregard for the Response Plan and abandonment of

 precautionary measures to prevent the spread of COVID-19 between DPS facilities

 and islands.

          Creating and successfully implementing a workable policy to mitigate the

 spread of COVID-19 in a carceral setting is an unenviable task. But Defendant has

 had ample time to do so and the prior outbreaks should have served as cautionary

 tales. The Court finds that Plaintiffs have demonstrated, through the foregoing

 facts, that they have a strong likelihood of success on their Eighth Amendment

 claim.

                2.     Irreparable Harm

          Plaintiffs argue that they will suffer irreparable harm without an injunction

 because DPS’s failure to meet public health standards places them at risk of serious

 infection and death. ECF No. 6-1 at 28. Defendant counters that Plaintiffs have




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 not presented evidence demonstrating that a COVID-19 outbreak is imminent or,

 were another outbreak possible, that it is likely. ECF No. 22 at 42.

       “A plaintiff seeking preliminary relief must ‘demonstrate that irreparable

 injury is likely in the absence of an injunction.’” California v. Azar, 911 F.3d 558,

 581 (9th Cir. 2018) (citation omitted). “At a minimum, a plaintiff seeking

 preliminary injunctive relief must demonstrate that it will be exposed to irreparable

 harm.” Caribbean Marine Servs. Co. v. Baldrige, 844 F.2d 668, 674 (9th Cir.

 1988) (citation omitted). As a prerequisite to injunctive relief, “a plaintiff must

 demonstrate immediate threatened injury”; a speculative injury is not irreparable.

 Id. (citations omitted). “Irreparable harm is . . . harm for which there is no

 adequate legal remedy, such as an award of damages.” Ariz. Dream Act Coal. v.

 Brewer, 757 F.3d 1053, 1068 (9th Cir. 2014) (citation omitted). “[A]n alleged

 constitutional infringement will often alone constitute irreparable harm,” Monterey

 Mech. Co. v. Wilson, 125 F.3d 702, 715 (9th Cir. 1997) (internal quotation marks

 and citation omitted), but not if “the constitutional claim is too tenuous.” Goldie’s

 Bookstore, Inc. v. Superior Court of Cal., 739 F.2d 466, 472 (9th Cir. 1984).

       The Court already determined that Plaintiffs are likely to succeed on the

 merits and “the deprivation of constitutional rights ‘unquestionably constitutes

 irreparable injury.’” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012)

 (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)). In addition, Plaintiffs clearly


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 identify the irreparable harm they will suffer if conditions at DPS facilities persist.

 Comingling COVID-positive inmates with non-infected inmates, unsanitary living

 conditions, lack of social distancing, failure to provide PPE, failure to enforce

 mask wearing and proper usage, insufficient COVID-19 screening and testing, and

 lack of adequate medical care, increase Plaintiffs’ risk of contracting COVID-19

 and potentially suffering serious illness or death. See Maney v. Brown, 464 F.

 Supp. 3d 1191, 1216 (D. Or. 2020) (“Maney I”) (citations omitted). Indeed, the

 Hawai‘i Supreme Court determined that multiple DPS facilities are overcrowded

 and in light of the pandemic, “they have the potential to . . . place the inmates at

 risk of death or serious illness.” In re Individuals in Custody of State, No. SCPW-

 XX-XXXXXXX, 2020 WL 5015870, at *1 (Haw. Aug. 24, 2020) (“In re Inmates II”)

 (discussing MCCC, HCCC, and KCCC); see In re Individuals in Custody of State,

 No. SCPW-XX-XXXXXXX, 2020 WL 4873285, at *1 (Haw. Aug. 17, 2020) (“In re

 Inmates I”) (discussing OCCC). And facilities remain overcrowded. See

 https://dps.hawaii.gov/wp-content/uploads/2021/07/Pop-Reports-Weekly-2021-07-

 05.pdf (last visited July 13, 2021). Accordingly, Plaintiffs have established that

 they are likely to suffer irreparable injury.

       The Court rejects Defendant’s assertion that this determination requires

 Plaintiffs to confirm the imminence of a COVID-19 outbreak at a DPS facility.

 ECF No. 22 at 42. See Helling v. McKinney, 509 U.S. 25, 33 (1993) (“We have


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 great difficulty agreeing that prison authorities may not be deliberately indifferent

 to an inmate’s current health problems but may ignore a condition of confinement

 that is sure or very likely to cause serious illness and needless suffering the next

 week or month or year.”). Plaintiffs’ concerns about harm are not speculative for

 the reasons explained above. As they currently exist, DPS’s practices —

 exacerbated by the shared and confined spaces in carceral settings — are likely to

 cause irreparable harm because they present a considerable risk of exposure to

 COVID-19, with or without an outbreak. See Maney II, __ F.3d at __, 2021 WL

 354384, at *15; Criswell, 2020 WL 5235675, at *23–24; Torres v. Milusnic, 472 F.

 Supp. 3d 713, 740–41 (C.D. Cal. 2020); Zepeda Rivas v. Jennings, 445 F. Supp. 3d

 36, 40 (N.D. Cal. 2020); Kaur v. DHS, Case No. 2:20-cv-03172-ODW (MRWx),

 2020 WL 1939386, at *3 (C.D. Cal. Apr. 22, 2020). And, in any case, “a remedy

 for unsafe conditions need not await a tragic event.” Helling, 509 U.S. at 33.

       Regardless of whether another outbreak is imminent, the Court is

 unconvinced that DPS’s recent efforts in the midst of this litigation have

 eliminated the ongoing harm to Plaintiffs. On June 10, 2021 — one day after

 Plaintiffs filed the Injunction Motion and the same day the Court held a status

 conference on the matter — Johnson issued a directive that inmates are not to be

 placed in the dog cages overnight. Mahoe Decl. ¶ 14. Then, shortly before

 Defendant’s opposition deadline, DPS began relocating inmates from the fishbowl


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 to other housing units at HCCC. Id. ¶ 24; Johnson Decl. ¶ 39. The timing of

 DPS’s actions is suspect. And given Plaintiffs’ counsel’s allegation that DPS

 actually replicated these deficient housing conditions elsewhere in the facility, any

 improvement in conditions is debatable. Furthermore, improvements at HCCC do

 not remedy the many other dangers identified above that promote the spread of

 COVID-19 in DPS facilities. DPS’s recent efforts to remediate egregious

 conditions — that should never have occurred in the first place — do not persuade

 the Court that DPS can and will successfully manage the pandemic moving

 forward. After all, the five severe outbreaks demonstrate otherwise. Based on

 DPS’s record of handling of COVID-19 in its facilities, it is not unreasonable to

 assume that issues will persist and that future outbreaks are likely, driven in part by

 the inmates’ inter-facility movement and constant introduction of new inmates into

 the facilities.

        Defendant claims that DPS will be irreparably harmed if an injunction issues

 because the Court would assume administration over its facilities.22 ECF No. 22 at

 42 (citation omitted). Putting aside the fact that this is not the salient inquiry, the


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    Defendant cites Swain v. Junior, 958 F.3d 1081, 1090 (11th Cir. 2020), for this
 proposition. Swain concerned a motion for stay pending appeal of a preliminary
 injunction. See id. at 1085. Therefore, the defendants bore the burden of
 establishing that they would be irreparably harmed absent a stay. See id. at 1088,
 1090. Swain has no application under this factor, as the Court considers whether
 Plaintiffs will suffer irreparable harm in the absence of an injunction, not whether
 an injunction will cause Defendant to suffer irreparable harm.
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 Court struggles to identify any harm to DPS, let alone irreparable harm, when the

 injunction would merely require DPS to do not only what it should be doing but

 what it claims it has been doing throughout the course of the pandemic. “Self-

 inflicted wounds are not irreparable injury.” Al Otro Lado, 952 F.3d at 1008

 (internal quotation marks, brackets, and citations omitted). “An injunction cannot

 cause irreparable harm when it requires a party to do nothing more than what it

 maintained, under oath, it was already doing of its own volition.” Ahlman v.

 Barnes, No. 20-55568, 2020 WL 3547960, at *3 (9th Cir. June 17, 2020) (“Ahlman

 II”).

         For these reasons, the Court finds that Plaintiffs have demonstrated that they

 will be irreparably harmed in the absence of an injunction.

               3.     Balance of Equities/Public Interest

         Plaintiffs contend that the equities weigh in favor of protecting them, DPS

 staff, and the community from the spread of COVID-19, and that any burden to

 Defendant — economic or administrative — is relatively limited. ECF No. 6-1 at

 30–33. Instead of addressing the applicable considerations, Defendant argues that

 Plaintiffs have failed to provide the necessary evidence entitling them to relief23


 23
    Citing Roman v. Wolf, Defendant asserts that “an ‘injunction should, to the
 extent possible, reflect the scientific evidence about COVID-19 presented to [a]
 district court’ and ‘should stem from medical evidence properly before the court.’”
 ECF No. 22 at 42–43 (alteration in original) (citing Roman, 977 F.3d at 946).
                                                                     (continued . . .)
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 and that DPS already implemented the measures that Plaintiffs request. ECF No.

 22 at 42–43. Defendant also argues that injunctive relief is disfavored because of

 federalism concerns and the policy against court interference with prison

 administration. Id. at 43–44.

        In assessing whether Plaintiffs establish that the balance of equities tip in

 their favor, “the district court has a ‘duty . . . to balance the interests of all parties

 and weigh the damage to each.’” Stormans, Inc. v. Selecky, 586 F.3d 1109, 1138

 (9th Cir. 2009) (alteration in original) (citation omitted). “When the reach of an

 injunction is narrow, limited only to the parties, and has no impact on non-parties,

 the public interest will be ‘at most a neutral factor in the analysis rather than one

 that favor[s] [granting or] denying the preliminary injunction.’” Id. at 1138–39

 (alterations in original) (citation omitted). When an injunction’s impact “reaches

 beyond the parties, carrying with it a potential for public consequences, the public

 interest will be relevant to whether the district court grants the preliminary

 injunction.” Id. at 1139 (citations omitted). “‘The public interest inquiry primarily



 (. . . continued)
 These principles have no bearing on Plaintiffs’ entitlement to injunctive relief. The
 Roman court affirmed the issuance of a preliminary injunction but vacated and
 remanded specific provisions of the injunction due to the drastic changes that
 occurred after its issuance. See Roman, 977 F.3d at 945. The above references to
 scientific and medical evidence were provided for the district court’s consideration
 on remand. Id. at 946. They are not tied to the balancing of equities/public interest
 factor.
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 addresses impact on non-parties rather than parties.’” League of Wilderness

 Defs./Blue Mountains Biodiversity Project v. Connaughton, 752 F.3d 755, 766 (9th

 Cir. 2014) (citation omitted). It also requires the Court to “‘consider whether there

 exists some critical public interest that would be injured by the grant of preliminary

 relief.’” Cottrell, 632 F.3d at 1138 (citation omitted).

       Here, the equities tip sharply in Plaintiffs’ favor because they face

 irreparable harm to their health and constitutional rights. See Castillo v. Barr, 449

 F. Supp. 3d 915, 923 (C.D. Cal. 2020). The Court acknowledges that Defendant

 has a strong interest in the administration of DPS facilities, see Woodford v. Ngo,

 548 U.S. 81, 94 (2006), and that “separation of powers concerns counsel a policy

 of judicial restraint.” Turner v. Safley, 482 U.S. 78, 85 (1987); see also 18 U.S.C.

 § 3626(a)(2) (“The court shall give substantial weight to any adverse impact on

 public safety or the operation of a criminal justice system caused by the

 preliminary relief and shall respect the principles of comity[.]”). And “[w]here a

 state penal system is involved, federal courts have . . . additional reason to accord

 deference to the appropriate prison authorities.” Turner, 482 U.S. at 85 (citation

 omitted). That said, Defendant “cannot suffer harm from an injunction that merely

 ends an unlawful practice . . . to avoid constitutional concerns,” Rodriguez v.

 Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013) (citation and footnote omitted),

 particularly when Defendant claims it is already complying with its Response Plan.


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 Additionally, “while States and prisons retain discretion in how they respond to

 health emergencies, federal courts do have an obligation to ensure that prisons are

 not deliberately indifferent in the face of danger and death.” Valentine v. Collier,

 590 U.S. __, 140 S. Ct. 1598, 1599 (2020) (statement of Sotomayor, J., joined by

 Ginsburg, J.); see Brown v. Plata, 563 U.S. 493, 511 (2011) (“Courts nevertheless

 must not shrink from their obligation to ‘enforce the constitutional rights of all

 “persons,” including prisoners.’” (citation omitted)). “Courts may not allow

 constitutional violations to continue simply because a remedy would involve

 intrusion into the realm of prison administration.” Brown, 563 U.S. at 511.

       It is noteworthy that the injunctive relief requested and ordered here simply

 requires DPS to comply with its own policies. Defendant will not be burdened or

 harmed if DPS must do what he insists it is already doing. See Ahlman II, 2020

 WL 3547960, at *3. Moreover, this mitigates federalism concerns and allows the

 Court to address alleged constitutional violations without becoming too “enmeshed

 in the minutiae of prison operations.” Bell, 441 U.S. at 562.

       The public interest would also be served by requiring DPS to adhere to

 policies it formulated, which are designed to limit the spread of COVID-19,

 especially when non-compliance causes the violation of constitutional rights. See

 Am. Beverage Ass’n v. City & County of San Francisco, 916 F.3d 749, 758 (9th

 Cir. 2019) (“[I]t is always in the public interest to prevent the violation of a party’s


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 constitutional rights.” (internal quotation marks and citation omitted)). With

 inmate COVID-19 infections far exceeding the general rate in Hawai‘i, and

 multiple severe outbreaks in DPS facilities throughout the course of the pandemic,

 Defendant has not adequately protected the health and safety of the inmates. And

 the continued spread of COVID-19 in DPS facilities will impact DPS staff and

 other individuals who enter DPS facilities, along with their families and

 surrounding communities. See In re Inmates II, 2020 WL 5015870, at *1

 (recognizing the endangerment to “the lives and well-being of staff and service

 providers who work [at DPS facilities], their families, and members of the

 community at large”). These considerations support the issuance of a preliminary

 injunction.

        In sum, Plaintiffs have demonstrated that there is a strong likelihood of

 success on the merits of their claims, that they will suffer irreparable injury if relief

 is not granted, and that the balance of hardships and public interest weigh heavily

 in their favor.

        B.     Scope of Injunctive Relief

        Plaintiffs request the same injunctive relief in the Injunction Motion that

 they ultimately seek in this litigation — the appointment of a special master

 pursuant to 18 U.S.C. § 3626(f)(1)(A) to oversee the development and




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 implementation of their Proposed Response Plan.24 Compare SAC at 61–65 with

 ECF No. 14-1 at 2–5. It is typically improper “to grant the moving party the full

 relief to which he might be entitled if successful at the conclusion of a trial. This is

 particularly true where the relief afforded, rather than preserving the status quo,

 completely changes it.” Tanner Motor Livery, Ltd. v. Avis, Inc., 316 F.2d 804,

 808–09 (9th Cir. 1963). But even if the injunction here is mandatory, it is mild

 because it merely requires Defendant to adhere to its Response Plan and employ

 practices that comport with CDC guidelines. See Hernandez, 872 F.3d at 999–

 1000.

               1.    Appointment of a Special Master

         The PLRA authorizes the Court to appoint a special master in a civil

 action regarding prison conditions (1) “who shall be disinterested and objective

 and who will give due regard to the public safety, to conduct hearings on the

 record and prepare proposed findings of fact” (2) “during the remedial phase of

 the action only upon a finding that the remedial phase will be sufficiently complex

 to warrant the appointment.” 18 U.S.C. § 3626(f)(1)(A)–(B) (emphases added).



 24
    Plaintiffs initially requested an evaluation of whether inmates should be released
 to comply with CDC guidelines. ECF No. 6-1 at 34. At the time, the FAC was the
 operative pleading, and it also requested the same relief. ECF No. 5 at 75. The
 SAC does not request this relief, nor is it outlined in Plaintiffs’ supplemental
 memorandum regarding the specific injunctive relief sought. ECF No. 14.

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 Because this case is not in the remedial phase, appointment of a special master

 under § 3626(f) is improper. See McCormick v. Roberts, Civil Action No. 11-

 3130-MLB, 2012 WL 1448274, at *2 (D. Kan. Apr. 26, 2012) (denying motion to

 appoint special master pursuant to § 3626(f) because the case had yet to enter the

 remedial phase); Roberts v. Mahoning County, 495 F. Supp. 2d 713, 714 (N.D.

 Ohio 2006) (discussing work of special master appointed after a bench trial to

 assist the parties with a remedial phase aimed at achieving final resolution).

 Plaintiffs have not presented any cases, and the Court has found none, appointing a

 special master pursuant to § 3626(f) at the preliminary injunction phase in a civil

 case regarding prison conditions.

       At the hearing, Plaintiffs requested that their request be considered pursuant

 to FRCP 53 instead of § 3626(f). The PLRA defines a “special master” as “any

 person appointed by a Federal court pursuant to Rule 53 of the Federal Rules of

 Civil Procedure or pursuant to any inherent power of the court to exercise the

 powers of a master, regardless of the title or description given by the court.” 18

 U.S.C. § 3626(g)(8). Therefore, the Court finds that even if it were to award relief

 under FRCP 53, it would still be subject to the constraints of § 3626(f).

       Additional reasons support denial of the request at this time. Special masters

 are ordinarily appointed after liability is established or a consent decree or

 injunction issues, to assist courts with enforcement. See, e.g., Brown, 563 U.S. at


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 511; Balla v. Idaho State Bd. of Corr., No. 1:81-cv-1165-BLW, 2011 WL 108727,

 at *1–2 (D. Idaho Jan. 6, 2011); Plata v. Schwarzenegger, 603 F.3d 1088, 1097

 (9th Cir. 2010); Hook v. Ariz. Dep’t of Corr., 107 F.3d 1397, 1399–400 (9th Cir.

 1997).

         Courts have contemplated the appointment of a special master in cases

 involving ICE facilities when a defendant failed to comply with orders. See, e.g.,

 Roman v. Wolf, ED CV 20-00768 TJH, 2020 WL 6107069, at *2 (C.D. Cal. Oct.

 15, 2020); Fraihat v. ICE, Case No. EDCV 19-1546 JGB (SHKx), 2020 WL

 6541994, at *13 (C.D. Cal. Oct. 7, 2020). Plaintiffs cite two cases in which special

 masters were appointed. However, the appointments followed ICE’s pattern of

 non-compliance and the PLRA does not apply to civil detainees.25 See ECF No.

 26-19; Gayle v. Meade, Case No. 20-21553-Civ-COOKE/GOODMAN, 2020 WL

 4047334, at *2 (S.D. Fla. July 17, 2020). The final case cited by Plaintiffs is a

 consent order addressing class certification and appointing a special master

 pursuant to FRCP 53. ECF No. 26-18.

         None of the circumstances in these cases are present here. Accordingly, the

 Court denies Plaintiffs’ request to appoint a special master. This does not

 foreclose the possibility that a special master or another person with a similarly

 contemplated role may be appointed in the future, if appropriate.


 25
      See Agyeman v. INS, 296 F.3d 871, 886 (9th Cir. 2002).
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               2.     Limitations on Relief

         The PLRA also authorizes the Court to issue a preliminary injunction in a

 civil action regarding prison conditions. See 18 U.S.C. § 3626(a)(2). “[I]njunctive

 relief must be narrowly drawn, extend no further than necessary to correct the

 harm the court finds requires preliminary relief, and be the least intrusive means

 necessary to correct that harm.” Id.; see also Melendres v. Maricopa County, 897

 F.3d 1217, 1221 (9th Cir. 2018) (“We have long held that injunctive relief ‘must be

 tailored to remedy the specific harm alleged.’” (some internal quotation marks and

 citation omitted)). Courts are required to “give substantial weight to any adverse

 impact on public safety or the operation of a criminal justice system caused by the

 preliminary relief and shall respect the principles of comity set out in paragraph

 (1)(B) in tailoring any preliminary relief.”26 18 U.S.C. § 3626(a)(2); see also


 26
      Paragraph (1)(B) provides:

         The court shall not order any prospective relief that requires or permits
         a government official to exceed his or her authority under State or local
         law or otherwise violates State or local law, unless—

               (i) Federal law requires such relief to be ordered in violation of
               State or local law;

               (ii) the relief is necessary to correct the violation of a Federal
               right; and

               (iii) no other relief will correct the violation of the Federal right.

 18 U.S.C. § 3626(a)(1)(B).
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 Maricopa County, 897 F.3d at 1221 (“Federalism principles make tailoring

 particularly important where, as here, plaintiffs seek injunctive relief against a state

 or local government.” (citation omitted)). District courts nevertheless retain

 “broad discretion to fashion injunctive relief” so long as the injunctive relief “is

 ‘aimed at eliminating a condition that does not violate the Constitution or does not

 flow from such a violation.’” Maricopa County, 897 F.3d at 1221 (some internal

 quotation marks and citation omitted).

       Preliminary injunctive relief automatically expires “90 days after its entry,

 unless the court makes the findings required under subsection (a)(1) for the entry

 of prospective relief and makes the order final before the expiration of the 90-day

 period.” 18 U.S.C. § 3626(a)(2).

       Although Plaintiffs’ requested injunctive relief is largely appropriate, the

 Court has made necessary adjustments to ensure that the relief is narrowly tailored

 to correct the constitutional violations identified herein and is the least intrusive

 means to correct the harm to Plaintiffs. Based on the foregoing, the Court

 GRANTS the Injunction Motion and ORDERS Defendant to fully comply with the

 Response Plan,27 focusing in particular on the following:


 27
   To be clear, the Court is referring to the State of Hawaii Department of Public
 Safety Pandemic Response Plan COVID-19 (May 28, 2021 Revision). ECF No.
 22-12. At the hearing, Plaintiffs’ counsel conceded that she does not take issue
                                                                     (continued . . .)

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     Section 3.a (Good Health Habits).

     Section 3.b (Environmental Cleaning).

     Section 3.c (Social Distancing Measures).

     Section 3.d (Encourage the use of Masks and Other No-Contact
      Barriers).

     Section 6 (New Intake Screening).

     Section 8 (Personal Protective Equipment (PPE)).

     Section 10 (Medical Isolation/Cohorting (Symptomatic Persons)).

     Section 12 (Quarantine (Asymptomatic Exposed Persons)) – with an
      emphasis on the provisions concerning the (1) identification of
      inmates who are at increased risk for severe illness and (2) single cell
      and available housing prioritization of inmates with increased risk of
      severe illness from COVID-19.

     Section 13 (Surveillance for New Cases).

 Defendant is further ORDERED to:

     Provide sanitary living conditions to all inmates in DPS custody, i.e.,
      regular access to a working toilet, sink, and drinking water.

     Prohibit DPS employees from restricting access to inmate grievance
      forms or from preventing the submission of grievances with respect to
      COVID-19 issues.




 (. . . continued)
 with the Response Plan itself, and indeed, the Court agrees that it is a rather
 comprehensive plan that addresses the proper management of COVID-19 at DPS
 facilities.
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       Oversight is hereby referred to Magistrate Judge Mansfield, who is

 authorized to address compliance with the preliminary injunction, engage in

 factfinding procedures he deems appropriate, and issue certified factual findings to

 the undersigned. The parties are directed to attend status conferences with

 Magistrate Judge Mansfield once a month. One week prior to each status

 conference, the parties shall file a joint status report. If they are unable to do so,

 they shall file separate status reports. The parties are directed to contact Magistrate

 Judge Mansfield’s chambers to schedule the first status conference during the week

 of July 19, 2021. The parties need not file a status report but should be prepared to

 discuss compliance with the injunction.

       C.     FRCP 65(c)

       FRCP 65(c) permits a court to grant preliminary injunctive relief “only if the

 movant gives security in an amount that the court considers proper to pay the costs

 and damages sustained by any party found to have been wrongfully enjoined or

 restrained.” Fed. R. Civ. P. 65(c). While this language appears to be mandatory,

 “Rule 65(c) invests the district court ‘with discretion as to the amount of security

 required, if any.’” Johnson v. Couturier, 572 F.3d 1067, 1086 (9th Cir. 2009)

 (some internal quotation marks and citation omitted). Based on the class

 composition and record before it, the Court waives the bond requirement.




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                                     CONCLUSION

        In accordance with the foregoing, the Court HEREBY (1) GRANTS

 Plaintiffs’ Motion for Provisional Class Certification, ECF No. 20, and (2)

 GRANTS IN PART AND DENIES IN PART Plaintiffs’ Motion for Preliminary

 Injunction and Temporary Restraining Order. ECF No. 6.

        IT IS SO ORDERED.

        DATED:        Honolulu, Hawai‘i, July 13, 2021.




                              Jill A. Otake
                              United States District Judge




 Civil No. 21-00268 JAO-KJM, Alvarado v. Otani; ORDER (1) GRANTING PLAINTIFFS’ MOTION FOR
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 PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION AND TEMPORARY RESTRAINING ORDER

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